         Case 2:90-cv-00520-KJM-SCR Document 8385 Filed 08/30/24 Page 1 of 6


                              NOT FOR PUBLICATION                         FILED
                       UNITED STATES COURT OF APPEALS                     AUG 30 2024
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
                              FOR THE NINTH CIRCUIT

RALPH COLEMAN; et al.,                            No. 23-2485
                                                  D.C. No.
                Plaintiffs - Appellees,           2:90-cv-00520-KJM-DB
    v.
                                                  MEMORANDUM*
GAVIN NEWSOM, Governor, State of
California, et al.,

                Defendants - Appellants.

                      Appeal from the United States District Court
                         for the Eastern District of California
                      Kimberly J. Mueller, District Judge, Presiding

                         Argued and Submitted August 12, 2024
                               San Francisco, California

Before: GRABER, CALLAHAN, and KOH, Circuit Judges.

          Defendants1 appeal from the district court’s August 23, 2023, Order, which

directs them to immediately adopt and implement certain minimum treatment




          *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
1
      Defendants are California officials: the Governor and various officials
responsible for the treatment of individuals under the CDCR’s jurisdiction.
    Case 2:90-cv-00520-KJM-SCR Document 8385 Filed 08/30/24 Page 2 of 6


standards for the Psychiatric Inpatient Programs (PIPs) which are operated by the

California Department of Corrections and Rehabilitation (CDCR) for inmates

needing the most mental health care. On appeal, Defendants argue that, “in

ordering CDCR to offer a minimum of 20 treatment hours a week to every covered

inmate,” the district court failed to comply with the Prison Litigation Reform Act

of 1995 (PLRA), 18 U.S.C. § 3626, because the court did not make specific

findings that the “relief is narrowly drawn, extends no further than necessary to

correct the violation of the Federal right, and is the least intrusive means necessary

to correct the violation of the Federal right.” We have jurisdiction pursuant to 28

U.S.C. § 1292(a)(1), and we affirm.

      Defendants have the burden of showing that the District Court’s findings of

fact are clearly erroneous or that the scope of the injunction is an abuse of

discretion. Armstrong v. Brown, 768 F.3d 975, 979 (9th Cir. 2014).

      Defendants first contend that the district court failed to make the “need-

narrowness-intrusiveness findings” required by the PLRA to impose a minimum of

20 hours of treatment per week as the remedy for a constitutional violation. They

next argue that the district court imposed the 20 hours requirement without any

factual findings or evidentiary support. Third, Defendants contend that the district

court abused its discretion by rejecting their PIPs treatment plan.

      None of Defendants’ contentions is persuasive. The district court cited the



                                         2
    Case 2:90-cv-00520-KJM-SCR Document 8385 Filed 08/30/24 Page 3 of 6


PLRA in its order and recognized that the Act requires that prospective relief be

narrowly drawn based on “need-narrowness-intrusiveness” findings. The August

2023 Order proceeds to explain why Defendants’ proposed plan “does not satisfy

the requirements that have long been in place in this case.” The district court

properly relied on the Special Master’s prior reports and its prior orders in

determining that Defendants were not providing the constitutionally required

minimum of mental health care to the inmates who were most in need of mental

health care. It noted that “[s]ince July 2013, the Special Master has filed five

stand-alone monitoring reports on the adequacy of inpatient mental health care,”

“[e]ach report identifies inadequate levels of group and individual therapy offered

at inpatient programs that have now become the CDCR PIPs,” and “[n]either party

objected to any of the Special Master’s findings in these reports, and the court

adopted all of the findings in all five reports in full.” The district court noted that

the Special Master’s May 11, 2023, report was “adopted by the court in full and

without objection” and showed “ongoing constitutional violations in access to

adequate mental health care in the CDCR PIPs.”

      The district court adopted the 20 hours requirement from Defendants’ own

programs. The court explained that in a March 8, 2017, order, it had directed the

California Department of State Hospitals (DSH) to create a continuous quality

improvement process (CQI) for the inpatient programs DSH operates. It



                                          3
    Case 2:90-cv-00520-KJM-SCR Document 8385 Filed 08/30/24 Page 4 of 6


commented that DSH developed a fully adequate CQI process, “which it still

uses,” which “provides that patients will be offered 20 hours of treatment per

week, at least ten hours of which are to be ‘core’ treatment.” DSH’s CQI process

“requires justification for each patient for whom 20 hours of group [treatment] per

week is not clinically indicated, as well as ‘objectives and interventions to assist

the patient in attending groups.’”

      The district court noted that, in contrast, Defendants’ March 28, 2023,

proposed plan contained “no requirement for a minimum number of structured

treatment hours for inmate-patients” and left “structured programming to

‘individualized clinical assessment and treatment planning by the Interdisciplinary

Treatment Teams, updated based on clinical progress as per the standard of care.’”

The district court rejected the proposed plan as containing no minimum time

requirement for structured therapeutic treatment and disregarding the requirements

for delivering adequate inpatient care to class members.2


2
        The court explained that the Program Guide requires that (1) “defendants
must provide ‘[i]ntensive-treatment’ in the [Acute Psychiatric Program],” (2) “they
must provide individualized treatment in [Intermediate Care Facility] programs,
and that treatment must be drawn ‘from a wide variety of treatment modalities
including group and individual psychotherapy, medication management,
depression and crisis management, training in daily living skills and interpersonal
skills, substance abuse, management of assaultive behavior, supportive counseling,
modification of maladaptive behaviors, and educational and vocational
programs,’” and (3) “[Enhanced Outpatient Program] inmate-patients must be
offered at least ten hours of structured therapeutic activity per week absent clinical
justification on a case-by-case basis.” The details of “these core requirements have

                                         4
    Case 2:90-cv-00520-KJM-SCR Document 8385 Filed 08/30/24 Page 5 of 6


      The district court first faulted Defendants’ proposed plan for equating the

offering and receiving of therapeutic activity, noting that “[i]ndividual patients

may receive less treatment than offered, and an adequate plan will include

guidance about when patients may accept or receive less treatment.” Next, the

district court found that the proposed plan did not “offer enough structured

therapeutic activities in the PIPs to give clinicians the ‘wide variety’ of options to

use in developing individualized treatment plans” for patients. It noted that the 20

hours of treatment per week standard was derived from the DSH CQI and, notably,

that “[a]ll stakeholders agree, and this court has found, those minimum treatment

standards are adequate.” It concluded that “[t]here is no reason to conclude

different standards should govern the inpatient programs administered by CDCR.”

      Defendants argue that DSH patients and other CDCR inmates are different

but fail to provide any meaningful specifics to support their conclusory assertion.

Rather, Defendants rely on their expert’s declaration that inpatient care should be

based on personalized assessments and individual treatment plans. At oral

argument, counsel essentially admitted that the district court was basically

presented with the options of either requiring 20 hours a week or requiring no



developed contextually over the last decade of implementation” and “require[]
DSH to offer patients 20 hours’ treatment per week unless clinically
contraindicated.”


                                         5
     Case 2:90-cv-00520-KJM-SCR Document 8385 Filed 08/30/24 Page 6 of 6


hours at all.

       Because the court’s order was supported by numerous prior orders and

Special Master’s reports finding that Defendants have continued to deny inmates

with the minimal mental health care required by the Constitution; that the 20 hours

requirement was borrowed from the program adopted by DSH, that Defendants

proffered no specific reasons for why DSH’s program would not work for CDCR;

and that Defendants offered the district court no alternative program requiring

fewer hours, Defendants have failed to show that the August 2023 Order is clearly

erroneous or an abuse of discretion.3 See Armstrong, 768 F.3d at 983–86.

Accordingly, the August 2023 Order is AFFIRMED.




3
       This is not to say that Defendants could not, or cannot, marshal sufficient
facts and arguments to show that the 20 hours requirement exceeds the minimum
required by the Constitution and that they have an alternate program that will meet
the standards required by the Constitution and the PLRA. We only hold that they
have not done so on this record.

                                        6
